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                    UNITED STATES DISTRICT COURT
                       DISTRICT OF NEW JERSEY



UNITED STATES OF AMERICA                    :         Honorable Mark Falk

                                                      Mag. No. 18-3789
            v.
                                                      CRIMINAL COMPLAINT
MICHAEL HEALY


       I, Jason Frederick, being duly sworn, state the following is true and correct
to the best of my knowledge and belief:

                              SEE ATTACHMENT A

      I further state that I am a Special Agent with the Federal Bureau of
Investigations, and that this complaint is based on the following facts:

                              SEE ATTACHMENT B

Continued on the attached page and made a part hereof:




                         Specia Agent Jason Frederick
                         UnitedjStates Department of Justice
                         Federal Bureau of Investigations



Sworn to before me and subscribed in my presence,
this 9th day of November, 2018 in Newark, New Jersey


HONORABLE MARK FALK
UNITED STATES MAGISTRATE JUDGE                  Sig    re of Judicial Officer
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                                ATTACHMENT A

                                  COUNT ONE
                (Conspiracy to Distribute Controlled Substances)

      On or about April 18, 2014 up to and including November 7, 2018, in
Essex County, in the District of New Jersey and elsewhere, the defendant,

                               MICHAEL HEALY

did knowingly and intentionally conspire and agree with others to distribute and
possess with intent to distribute a mixture and substance containing a
detectable amount of 3,4-methylenedioxymethamphetamine, a/k/a “MDMA,” or
“ecstasy,” a Schedule I controlled substance; a mixture and substance
containing a detectable amount of marijuana, a Schedule I controlled substance;
a mixture and substance containing one kilogram or more of heroin, a Schedule
II controlled substance; and a mixture and substance containing a detectable
amount of cocaine, a Schedule II controlled substance contrary to Title 21,
United States Code, Sections 841(a)(1) and (b)(1)(A).

      In violation of Title 21, United States Code, Sections 846.
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                                ATTACHMENT B

       I, Jason Frederick, am a Special Agent with the Federal Bureau of
Investigation. I am fully familiar with the facts set forth herein based on my
own investigation, my conversations with other law enforcement officers, and
my review of reports, documents, and photographs of the evidence. Where
statements of others are related herein, they are related in substance and part.
Because this complaint is being submitted for a limited purpose, I have not set
forth each and every fact that I know concerning this investigation. Where I
assert that an event took place on a particular date, I am asserting that it took
place on or about the date alleged.


       1.    In or around the beginning of 2014, law enforcement began
investigating a drug trafficking organization (“DTO”) operating in the Essex
County, New Jersey area. Among those being investigated were individuals
associated with a residence at 293 Ampere Parkway in Bloomfield, NJ (“the
residence”). Law enforcement has identified several members of this DTO,
including: defendant Michael HEALY, a/k/a “Shady” (“HEALY”); and at least
five other co-conspirators (“CC-i”;         “CC-3”; “CC-4”; and “CC5”)1.

      2.    On or about April 18, 2014 detectives from the Union County
Prosecutor’s Office executed a search warrant at the residence. Recovered
during the execution were:

             a.    40 Suboxone pills
             b.    13 white pills marked “K57”
             c.    4 yellow pills marked “R039”
             d.    6’/2 Percocet pills
             e.    Ziploc bag containing greenish vegetation suspected to be
                   marijuana
             f.    5 large clear plastic bags containing green vegetation
                   suspected to be marijuana
             g.    $20,000 found in stacks of $100 bills
             h.    $55,000 found in stacks of various denominations
             1.    6 vacuum sealed bags containing suspected marijuana
                   cookies
             j.    4 ziploc bags containing a white powdery substance


     3.    At that time, CC-i, CC-2 and CC-3 were present at the residence.
CC-3 gave a spontaneous statement to the officers that all of the marijuana

1CC-i and CC-2 were murdered in separate incidents in March and April
2018.
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and U.S. currency belonged to him/her and that he/she was willing to give a
sworn statement attesting to this.

      4.    On or about June 2, 2017, law enforcement executed another
search warrant at the residence. CC-i, CC-2 and CC-3 were present in the
residence at the time of the execution of the warrant.

      5.    During the course of the execution of that search warrant, law
enforcement recovered approximately 34 grams of cocaine, approximately 326
grams of a powdery substance believed to be an opiate, and various items
commonly associated with the distribution of controlled substances.
Immediately after the execution of the search warrant, CC-i gave law
enforcement a sworn statement admitting that the drugs and other materials
found in the residence were his and his alone.

       6.    Since the time of the execution of the June 2017 search warrant,
the Drug Enforcement Administration (the “DEA”) and Union County
Prosecutor’s Office began an investigation into the DTO. As part of that
investigation, the DEA developed a confidential source who provided them with
information about the DTO. Based upon the information provided by that
source, the DEA and Union County Prosecutor’s Office identified a Nissan
motor vehicle (the “Nissan”) that was to be used by the DTO to transport
controlled substances. As part of that investigation, the DEA and Union
County Prosecutor’s Office placed a OPS tracking device on the vehicle. That
tracking device was active for approximately 30 days in or about December
2017, but was not active thereafter.

      7.    During the course of this investigation, law enforcement spoke
with a cooperating witness (“CW- 1”) who provided information regarding the
DTO.

      8.     CW-i identified HEALY as the leader of the DTO. According to CW
1, HEALY, CC-i, CC-2 and CC-3 were selling between 30-50 kilos of
heroin/cocaine in New Jersey and elsewhere on a monthly basis. CW-1 further
stated that an individual in California (co-conspirator-4, ““CC-4”) supplied the
DTO with its controlled substances. CW-1 met CC-4 on one or more occasions
and has positively identified that individual.

       9.    CW- 1 stated that HEALY, CC-i and CC-3 transported the
controlled substances to New Jersey by various means, including by car, plane,
or mail. CW- 1 was aware that HEALY and CC-4 had a plane and a blue Nissan
that they used primarily to transport controlled substances. CW- 1 was further
aware that at one point, both the plane and the Nissan were parked at a
hangar somewhere in Monmouth County, NJ.

      10.   CW-1 explained that after quantities of various controlled
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substances were transported from California to New Jersey, the DTO used the
residence to make pills and press kilogram quantities of cocaine. CW-1 was
aware that the DTO kept a large pill press in a detached garage behind the
residence. Based upon information provided by CW-i, law enforcement
executed a search warrant at the detached garage at the residence in April
2018. During the course of the execution of that search warrant, law
enforcement recovered a large pill press and various presses commonly used to
package kilogram quantities of cocaine.

       11.   CW-i was aware that on several occasions between 2014 and 2018
that HEALY and CC-3 traveled to Baltimore, Maryland for the purpose of
distributing fentanyl to the local drug dealers in that City. During the course
of this investigation, law enforcement learned that HEALY had been arrested
previously in Baltimore and had served a fifteen (15) year prison sentence for
armed robbery there.

       12.    CW-i was also aware that during the relevant time period, CC-3
flew to China for the purpose of obtaining a large quantity of MDMA, or “Molly.”
According to CW-i, after CC-3’s trip to China, CC-i and CC-3 received
quantities of MDMA through the mail, and then re-distributed the MDMA to
street level drug dealers in Essex County, New Jersey and elsewhere. During
the course of the investigation, and based upon CW-i’s statement, law
enforcement obtained United States government records which confirmed that
CC-3 had traveled to China in the relevant time period.

       13.   CW-i further stated that he/she was aware of the 2014 seizure by
the Union County authorities from the residence. According to CW-i, the
money that was seized from the residence was proceeds from the DTO’s illicit
activity and was owed to HEALY. CW- 1 further stated that CC-3 took
ownership of the money and the drugs seized from the residence to insulate
HEALY from investigation and out of fear that HEALY would retaliate against
CC-3 and CC-i for having lost the money and drugs.

      14.   During the course of this investigation, a second cooperating
witness (“CW-2”) has provided information regarding the DTO.
CW-2 stated that CC-3 worked for “Shady” and positively identified HEALY as
“Shady.” CW-2 further stated that he/she knew CC-i, and was aware that CC-
1 was engaged in the distribution of controlled substances in Essex and Union
Counties and elsewhere along with CC-3 and HEALY.

      15.   Law enforcement has also interviewed a third cooperating witness
(CW-3) who has knowledge of the workings of the DTO. According to CW-3,
HEALY arranged the purchases of large quantities of marijuana, cocaine and
fentanyl from California beginning in or about 2014. According to CW-3,
HEALY is a ranking member of the Bloods street gang with ties to other
ranking members of the gang on the West Coast.
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       16.  CW-3 stated that since 2014, HEALY, and CC’s -1, -2 and -3 have
made multiple trips to California in order to arrange the shipment of controlled
substances to New Jersey. At the outset, HEALY, and CC’s -1, -2 and -3 sent
money to California and then arranged to mail the controlled substances back
to New Jersey in exchange. According to CW-3, those return mailings
frequently contained multiple kilogram quantities of cocaine, in addition to
kilogram quantities of heroin/fentanyl and substantial quantities of marijuana.
CW-3 was also aware that CC-3 was responsible for transporting the fentanyl
to Baltimore for further distribution.

       17.  At some point in 2017, the DTO used a small plane to ship the
controlled substances from California to New Jersey. According to CW-3, once
the plane landed at an airport in New Jersey, HEALY, CC-3 and others
arranged to have a car with a concealed compartment—commonly known as a
“trap”—meet the plane at the airport. The controlled substances were then to
be loaded into the trap for transportation to other locations in New Jersey.

       18.   Based upon the information provided by CW-3 and other
information developed during the course of the investigation, law enforcement
located the Nissan parked outside of a maintenance hangar at a small airport
in New Jersey. The Nissan was seized by law enforcement. A subsequent
search of the Nissan revealed, among other things, that it had been outfitted
with a trap.

       19.   Law enforcement has also interviewed a fourth cooperating witness
(CW-4) in the course of this investigation. CW-4 told law enforcement that as
early as 2015, he/she was aware that CC-4 and HEALY were working together
to ship controlled substances from California to the Newark, New Jersey area.

      20.  According to CW-4, HEALY paid CC-4 to obtain controlled
substances including marijuana, cocaine, and heroin. HEALY then had the
drugs shipped to New Jersey for resale in the Newark-area.

       21.   Based upon information developed during the course of the
investigation, law enforcement became aware thatCC-5was charged with
distributing heroin on HEALY’s behalf in New Jersey. The investigation
revealed that the heroin was being packaged for street distribution at 18
Ellington Street, Apartment lB in East Orange, N.J. (“ELLINGTON PROPERTY”)
and at 468 3rd Avenue West, First Floor in Newark, N.J. (“468 PROPERTY”).

      22.   On or about November 1, 2018, the Hon. Steven C. Mannion
issued a search warrant for the ELLINOTON PROPERTY. On or about
November 7, 2018, the Hon. Mark Falk issued a search warrant for the 468
PROPERTY. On November 7, 2018, members of law enforcement executed both
search warrants.
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       23.   During a search of the ELLINGTON PROPERTY, law enforcement
recovered, among other things, approximately 1,719 glassine envelopes
containing a white powdery substance believed to be heroin. A number of
those envelopes were banded together in groups of 50 envelopes each,
commonly referred to as a “brick.” In addition to the packaged heroin, law
enforcement recovered approximately 212 grams of a white powdery substance
believed to be heroin that had not yet been packaged into the glassine
envelopes. In total, law enforcement recovered approximately 34 “bricks” of
suspected heroin at the ELLINGTON PROPERTY. Also recovered was,
approximately 40 grams of crack and approximately 40 grams of an unknown
white powdery substance. Further, during the search of the ELLINGTON
PROPERTY, law enforcement recovered a substantial quantity of materials
commonly used to package heroin for street-level distribution purposes.

      24.    Law enforcement also made entry into the 468 PROPERTY to
execute the search warrant at that location. During the subsequent search of
the 468 PROPERTY, law enforcement recovered an additional 237 glassine
envelopes of heroin (approximately 5 bricks of suspected heroin) and additional
quantities of packaging materials.
